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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of         DECLARATION OF M
   themselves and all others similarly situated,          M        IN SUPPORT OF
17               Plaintiffs,
                                                          PLAINTIFFS’ MOTIONS FOR
                                                          PRELIMINARY INJUNCTION
18        v.                                              AND PROVISIONAL CLASS
                                                          CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4316479 2]
        DECLARATION OF M      M        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                        INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, M      M       , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify.
 4                 2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 5 from October 2018 until January 2023 and then again since May 3, 2023. In the past I was
 6 incarcerated by the Bureau of Prisons (BOP), including FCI Danbury. In the future BOP
 7 may transfer me to other BOP facilities but at any point I could be transferred back to FCI
 8 Dublin again.
 9                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of imminent serious harm
12 from sexual assault, harassment, and retaliation from staff.
13                 4.     While at FCI Dublin, I experienced sexual abuse by the former Warden, Ray
14 Garcia. Warden Garcia began to harass me shortly after he started working at Dublin,
15 including asking me to dance for him and be undressed for him on multiple occassions,
16 until he was walked off in summer of 2021.
17                 5.     I did not feel that I could safely report his abuse at FCI Dublin. I knew that
18 women who report sexual assault and harassment are sent to the SHU because I had a
19 bunkie who was put in the SHU for 8 months as part of an “investigation” into her sexual
20 relationship with an officer. I was afraid of being sent to the SHU or shipped to another
21 facility and so did not make a report to anyone until the FBI and U.S. attorneys came to
22 speak with me a few months before the Warden’s trial and subpoenaed me to testify.
23                 6.     I have been retaliated against repeatedly as one of Garcia’s victims. All the
24 officers knew I was called to testify, my counselor even asked me about it, which I thought
25 was inappropriate and made me feel like all the staff knew.
26                 7.     Shortly after the trial, my lawyer tried to get into contact with me, but staff
27 were reading my legal mail and wouldn’t let me talk to my attorney on the phone.
28 Eventually I was able to speak with the attorney but the whole process made me feel
     [4316479 2]                                          1
        DECLARATION OF M      M        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                        INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1 trapped and helpless. I couldn’t even get a hold of someone to help me when I needed it
 2 most.
 3                 8.       After I was transferred to FCI Danbury to participate in the FIT program, I
 4 continued to be targeted. When I arrived, the Lieutenant told me “I know who you are”
 5 and said, “I know you came from Dublin,” calling me by my nickname, “Exotica.”
 6 Following a room search, I saw him walk out with my legal paperwork, and although he
 7 eventually gave most of it back, he looked through it, and kept one sheet.
 8                 9.       I ended up having to sign myself out of the FIT program at Danbury because
 9 it was too triggering to me—I am a survivor of child sexual abuse and a majority of the
10 participants in that program were child molesters. I requested to be transferred to FMC
11 Carswell to be closer to my family in Texas, but I ended up being sent back here to Dublin.
12                 10.      On May 8, 2023, within five days of my arrival back at Dublin, I was placed
13 in the SHU after Officer Knittles falsely accused me of sexually soliciting him. I had been
14 in my room, which is on the top tier of A-Unit, stretching because I had back problems.
15 Shortly before the 9pm count, I saw flashing lights, and he came over and yelled at me
16 “M                   , what the fuck are you doing? Shut your fucking door.” After the count, five
17 officers came over with him and they took me to the lieutenant’s office. He accused me of
18 soliciting him and I denied everything, but Lt. Boyd just read me my rights and did not
19 seem interested in hearing my side. I asked SIS to investigate the shot, and after reviewing
20 the camera footage, Lt. Putnam let me out of the SHU as it must have been clear that
21 Officer Knittles had lied. However, I spent about a month in the SHU due to these false
22 charges causing me immense psychological harm. Afterwards, Lt. Putnam just asked if I
23 was okay but did not offer me any other help.
24                 11.      To make things worse, while I was in the SHU the BOP doctor took me off
25 my psychiatric medication without any explanation. Specifically, the BOP doctor took me
26 off my mood stabilizer, Trileptal, which I have been on for years and I still do not have it
27 back. This has left me in significant distress making me extremely depressed, anxious, and
28 unable to function.
     [4316479 2]                                           2
        DECLARATION OF M      M        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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 1                 12.   There is no confidential mental health care available to survivors of sexual
 2 abuse and assault at FCI Dublin. Since arriving back at Dublin, no one has even
 3 mentioned Tri-Valley care to me and I am not aware of any outside mental health provider
 4 that I can access and I do not feel comfortable or safe speaking with the BOP doctors.
 5                 13.   The camera system at FCI Dublin remains inadequate. Body worn cameras
 6 would help.
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     [4316479 2]                                        3
        DECLARATION OF M      M        IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
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